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IN THE UNITED STATES DISTRICT COURT rf?§U// _ f\§ _
FOR TH§ WESTERN DISTRICT OF TENN§SSE§ dsi/33 15 "` /)['
EASTERN DIVISION

 

WOODRIDGE TOWNHOMES, GP,
Plaintiff,
VS. No. l-05-l l l S-T-An

AUTO-OWNERS INSURANCE CO.,

\_/‘\_/"-n.»/\_/\_/\_/\_/\¢_J\-¢_/

Defendant.

 

ORDER GRANTING MOTION TO REMAND

 

Plaintift` Woodridge Townhomes, GP, originally filed this action in the Chancery
Court of l\/Iadison County, Tennessee, against Defendant Auto-Owners lnsurance Co.
regarding portions of an insurance claim addressing coverage of several metal
awnings/carports damaged in a tornado on May 4, 2003. Defendant removed the action to
this court With jurisdiction predicated on diversity ofcitizenship, 28 U.S.C. § 1332. Plaintiff
files this motion to remand pursuant to 28 U.S.C. § 1447, arguing that remand is appropriate
because Defendant failed to tile its notice of removal Within thirty (3 0) days after receiving
a copy of the complaint _S__e_e 28 U.S.C. § l446(b). For the following reasons, Plaintifi" s
motion is GRANTED.

Plaintiff filed suit in chancery court on August 18, 2004. The original suit named

Plaintiff as “Woodridge Townhomes, LLC, a Tennessee Limited Liability Compan y,” rather

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than “Woodridge Townhomes, a Tennessee General Partnership.”l On November 22, 2004,
Auto-Owners filed an answer to the complaint and filed a third-party complaint against
Thompson & Smith, LLC, the insurance agency that issued the policy to Plaintiff. On
December l, 2004, Auto-Owners amended the third~party complaint as to damages.

On December 30, 1999, a certificate of merger Was filed with the Tennessee Secretary
ofState, merging Woodridge Tothomes, LLC, into Woodridge Townhomes, GP. Plaintiff
informed Defendant of the merger on January 24, 2005, When it responded to a set of
interrogatories Plaintiff then filed a motion to amend its complaint in order to substitute
Plaintiff “Woodridge Townhomes, LLC,” for “Woodridge Townhomes, GP.” The court
granted Plaintiff` s motion on April 4, 2005.

Defendant filed its petition for removal on April 21, 2005. Defendant argues that
removal is proper under 28 U.S.C. § l446(b) because the notice for removal Was filed Within
thirty (30) days after receipt of Plaintiff" s amended complaint Further, Defendant argues
that because Plaintiff changed its status on December 30, 1999, it Was not a legal entity
When it brought suit against Defendant as “Woodridge Townhomes, LLC,” and therefore,
there Was no “case” removable by § l446(b) until the court granted the amended complaint
on April 4, 2005. Plaintiff argues that its misnomer does not mean that there Was no suit,
and thus, nothing to remove, until April 4, 2005. Consequently, it argues that this case

should be remanded because Defendant failed to timely remove.

 

' Defendant is a foreign corporation With its principal place of business in Lansing,
Michigan.

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In general, a civil case brought in state court may be removed to federal court if it
could have been brought in federal court originally 28 U.S.C. § 1441(a). A defendant
seeking to remove a case to federal court has the burden of establishing that the
jurisdictional requirements are met. See Alexander v. Electronic Data Svs. Corp., 13 F.3d
940, 949 (6th Cir. 1994); Gafford v. General Elec. Co., 997 F.2d 150, 155 (6th Cir. 1993)
(citing Wilson v. ReDublic lron & Steel Co., 257 U.S. 92, 97 (1921)). The removal statutes
are to be strictly construed, and there is a strong presumption against removal. St. Paul
Mercurv Indem. Co. v. Red Cab Co., 303 U.S. 283, 290-91 (1938); Alexander, 13 F.3d at
949.

Twenty-eight U.S.C. § 1446(b) states the procedure for removal. lt provides:

The notice of removal of a civil action or proceeding shall be filed within

thirty days after the receipt by the defendant... of a copy of the initial pleading

setting forth the claim for relief upon which such action or proceeding is

based....

lf the case stated by the initial pleading is not removable, a notice of removal may be

filed Within thirty days after receipt by the defendant... of a copy of an amended

pleading, motion, order or other paper from which it may first be ascertained that the
case is one which is or has become removable..,.

ln the present case, Defendant does not fit within the second paragraph of § l446(b).
The original complaint stated that Plaintiff was a Tennessee company and that Defendant
was a foreign corporation . Plaintiff remained a Tennessee resident when the certificate of
merger was filed with Tennessee’s Secretary of State. The misnomer corrected by the

amended complaint did not provide grounds for removal under § 1446(b) because Plaintiff` s

residency did not change as a result. Thus, diversity was present at the time the initial

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pleading was filed and Defendant had thirty days to remove on that basis ln addition,
Defendant answered the initial complaint and has not demonstrated that it was negatively
affected or unaware of the diversity grounds for removal as a result of the misnomer.

Defendant failed to timely remove. As a result, Plaintiff’ s motion to remand to the
Chancery Court of l\/ladison County, Tennessee, is GRANTED.

IT lS SO ORDERED.

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UFS D. TODD
TED STATES DISTRICT JUDGE

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DATE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case l:05-CV-01118 was distributed by faX, mail, or direct printing on
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Honorable .l ames Todd
US DISTRICT COURT

